
Appeal by the defendant from an order of the County Court, Suffolk County (Kahn, J.), dated January 21, 2009, which, after a hearing, designated him a level three sex offender pursuant to Correction Law article 6-C.
Ordered that the order is affirmed, without costs or disbursements.
We have reviewed the record and agree with the defendant’s assigned counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]). Skelos, J.P., Hall, Roman and Sgroi, JJ., concur.
